 4:17-cr-03125-JMG-CRZ     Doc # 10   Filed: 11/21/17   Page 1 of 2 - Page ID # 17




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                  CASE NO: 4:17CR3125
      vs.

MARCUS KIM REMUS,                                  DETENTION ORDER
             Defendant.



      The defendant is charged with a felony involving possession or use of a
firearm, destructive device, or other dangerous weapon. On the government's
motion, the court afforded the defendant an opportunity for a detention hearing
under the Bail Reform Act, 18 U.S.C. § 3142(f).         The court concludes the
defendant must be detained pending trial.

      There is a rebuttable presumption that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance at court
proceedings and the safety of the community because there is probable cause to
believe the defendant committed a felony involving possession or use of a
firearm or destructive device or any other dangerous weapon. The defendant
has not rebutted this presumption.

      Based on the information of record, the court finds by a preponderance of
the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's
release would pose a risk of harm to the public

      Specifically, the court finds that the defendant has a criminal history of
violating the law and court orders; violated conditions of release previously
imposed by a court; is addicted to or abuses mood-altering chemicals and is
 4:17-cr-03125-JMG-CRZ       Doc # 10   Filed: 11/21/17   Page 2 of 2 - Page ID # 18




likely to continue such conduct and violate the law if released; was not
immediately truthful with pretrial services during his interview and therefore
poses a substantial risk of noncompliance with supervision; has limited
employment contacts; has failed to appear for court proceedings in the past; has
mental health issues which will pose a risk of harm if the defendant is released;
presented no evidence opposing the presumption of detention; and conditions
which restrict Defendant’s travel, personal contacts, and possession of drugs,
alcohol, and/or firearms; require reporting, education, employment, or treatment;
or monitor Defendant’s movements or conduct; or any combination of these
conditions or others currently proposed or available (see 18 U.S.C. § 3142(c)),
will not sufficiently ameliorate the risks posed if the defendant is released.

                          Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated November 21, 2017.

                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
